Case 2:03-cv-02939-.]DB-dkv Document 141 Filed 06/13/05 Page 1 of 2 Page|D 120

FI|.ED EY' __ ______ 'D.O!

IN THE UNITED STATES ])ISTRICT COURT % {

FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUH l 3 PH 3: 33
WESTERN DIVISION

mnEi=m ga n rasmng

CLIE?`i'-’ ti. [`.-L‘St'. CT.

ELLIPSIS, INC., `N.[:). OI'" l»j §"w;':l;; iJHF'HiS

Plaintiff,
Case No. 03-2939 BV

VS.

THE COLOR WORKS, INC.,

W\_/\_/VWVV\_/`\-/

Defendant.

 

MODIFIED SCHEDULING ORDER

 

It appearing to the Court that the parties consent motion to modify the scheduling order is

Well taken, it is hereby ORDERED that the following deadlines are established:

 

TCW to Provide Affirmative Expert Reports: July 15, 2005
Close of Fact Discovery: July 15 , 2005
Ellipsis to Provide Rebuttal Expert Disclosu.res: August 15, 2005
Ellipsis to Provide Rebuttal Expert Reports: August 15, 2005
Close of Expert Discovery: September 2, 2005
Filing Dispositive Motions: September 15, 2005)£
aim W.@-budsp»tm.~.ammmmmsmnmwt +
These datesw,r“w” may not be modified absent subsequent order of the Court. “"‘"p" M""A“'*'"“P’~":"lg °
l _ '_L§k ®“_;m..\
lt is so ORDERED thls ___day of June, 2005.
A EL BREEN

IT D STATES DISTRICT IUDGE

{MZZ(B§U;Z} This document entered on the dock tsheet In c?mpliance
Wirh Hule 58 and/or 79(a) FRCP on ’ /O

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l4l in
case 2:03-CV-02939 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Merrick L. Gross
AKERMAN SENTERFITT
l S.E. Third Ave.

28th Floor

l\/liami7 FL 33 l3 l--l7l

Daniel Warren Van Horn
ARMS TRONG ALLEN, PLLC
80 l\/lonroe Avenue

Ste. 700

l\/lemphis7 TN 38103--246

Megan J. Knight
AKERMAN SENTERFITT
l S.E. Third Ave.

28th Floor

l\/liami7 FL 33l3l--l7l

John J. Heilin

BOURLAND HEFLIN ALAREZ & l\/[[NOR
5400 Poplar Avenue

Ste. 100

l\/lemphis7 TN 381 19

J ames G. Sammataro
AKERMAN SENTERFITT
l S.E. Third Ave.

28th il.

l\/liami7 FL 33 l3l

John Marshall J ones

BOURLAND HEFLIN ALAREZ & l\/[[NOR
5400 Poplar Avenue

Ste. 100

l\/lemphis7 TN 381 19

Honorable J. Breen
US DISTRICT COURT

